

People v McPherson (2024 NY Slip Op 00056)





People v McPherson


2024 NY Slip Op 00056


Decided on January 09, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 09, 2024

Before: Webber, J.P., Gesmer, Kennedy, Rosado, Michael, JJ. 


SCI No. 1056/19 Appeal No. 1366 Case No. 2019-03820 

[*1]The People of the State of New York, Respondent, 
vJameel McPherson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Benjamin Welikson of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Amanda Katherine Regan of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Laurie Peterson, J.), rendered May 23, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 9, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








